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           IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA
                                   BILLINGS DIVISION



 STATE OF MONTANA, ex rel.                                   CV-23-145-BLG-SPW-TJC
                                                  Cause No. _____________________
 AUSTIN KNUDSEN,
 ATTORNEY GENERAL

                       PLAINTIFFS,
       V.

 META PLATFORMS, INC.,
 INSTAGRAM, LLC, FACEBOOK
 HOLDINGS, LLC, FACEBOOK
 OPERATIONS, LLC, META
 PAYMENTS INC., META PLATFORMS
 TECHNOLOGIES, LLC, SICULUS,
 INC.,

                       DEFENDANTS.

                                       COMPLAINT

      1.       Instagram is a social media platform that allows users to share content through

photographs, videos, public comments, and private messages. When making the Instagram app




                                              2
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available to Montana users in Apple’s App Store and other online marketplaces, Defendants 1 tell

consumers that Instagram contains only “infrequent/mild” “profanity and crude humor,” “alcohol,

tobacco, and drug use or references,” “sexual content or nudity,” and “mature/suggestive themes.”

Instagram then claims a “12+” rating in the App Store, which tells consumers the app is suitable

for users aged 12 and older. Similarly, Instagram claims a “T for Teen” rating in the Google Play

and Microsoft Stores. Defendants know and intend that all of these representations will be

conveyed to Montana consumers.

       2.       These representations are patently false. Defendants allow rampant profanity,

sexual content and nudity, alcohol, tobacco, and drug use and references, and mature/suggestive

themes on the Instagram platform, including readily accessible hardcore pornography. Defendants

use human and computer moderators to police the content on Instagram, but those moderators

either systematically fail or apply internal policies that allow these types of content to remain on

the platform. Whether by design or by failure, Defendants’ moderators miss large amounts of

mature content on Instagram, leaving young Montanans regularly exposed to it.

       3.       Accounts registered to thirteen-year-olds may view sexually suggestive images,

“sex tips,” kink-related content, marijuana and tobacco use, recipes for making vodka taste like

candy, and explicit and profane songs accessible as both songs that can be played on demand, and

paired with video content throughout the Instagram app. In fact, countless Instagram accounts host

pornography, which is accessible to children with just a few clicks. Instagram was designed to

encourage addictive and compulsive use by children and teens, and encourages eating disorders,




       1
          Defendants are referred to collectively as “Defendants” or “Meta” or “Instagram”
throughout this petition. The word “Instagram” is used to refer both to the Defendant entities and
to the Instagram platform.
                                                 3
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self-harm, depression and anxiety, and suicide, especially in girls and young women. Instagram

presents young users with content explicitly referencing and even promoting self-harm and suicide.

        4.        Defendants are aware that their platform hosts an enormous library of mature

content and that their platform’s algorithms routinely recommend this content to Instagram’s

youngest users. Yet they continue to misrepresent Instagram’s content to consumers in the App

Store, Google Play Store, and the Microsoft Store. Defendants omit material details that parents

and Instagram users care about, and they offer misleading statements about what appears on the

platform. Montana consumers rely on Defendants’ misleading statements to their detriment.

        5.        Additionally, Instagram’s Community Guidelines and other public statements

misrepresent the content available on Instagram.

        6.        Defendants also unlawfully collect the personal data of young Montana users

without their parents’ consent, as required by the Children’s Online Privacy Protection Act

(“COPPA”), 15 U.S.C. § 6501, ch. 91, et seq. Defendants have actual knowledge that children

under the age of 13 use Instagram yet fail to secure the parental consent required by COPPA.

        7.        Pursuant to 15 U.S.C § 6504(a)(2), the State notified the Federal Trade Commission

of this action.

        8.        The State of Montana seeks a preliminary and permanent injunction to compel

Instagram to cease its deceptive and unfair statements about the frequency and severity of alcohol,

tobacco, and drug content, sexual content, nudity, mature/suggestive themes, and profanity on the

Instagram platform, its inaccurate age-ratings in the App Store and other online marketplaces, and

its deceptive public assurances in the Instagram Community Guidelines and elsewhere.

        9.        The State of Montana also seeks a permanent injunction to compel Instagram to

comply with the parental consent provisions of COPPA.



                                                  4
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       10.     The State of Montana further seeks civil penalties for Instagram’s deceptive and

unfair statements and conduct, which has harmed and continues to harm Montana consumers.

                                 JURISDICTION AND VENUE

       11.     This Court has federal question jurisdiction over the State’s claim arising under

federal law pursuant to 28 U.S.C. § 1331, and supplemental jurisdiction over the state-law claims

pursuant to 28 U.S.C. § 1367(a) because all claims form part of the same case or controversy.

       12.     Defendants operate social media applications and platforms that they have

purposefully directed to operate in the State of Montana within the applicable statute of limitations.

The Instagram app has been downloaded and activated by a device located in Montana at least

hundreds of thousands of times. Defendants are actively serving content to and collecting data

from all of those devices and accounts located in Montana.

       13.     Defendants use data collected from Montana users to serve content to users in

Montana. For example, Instagram advises users that it “use[s] location-related information, such

as your current location, where you live, the places you like to go and the businesses and people

you’re near” to recommend content. 2

       14.     Instagram also uses the location information of its users to personalize

advertisements. For example, based on a user’s location, Meta can show the user “ads for

businesses nearby.” 3




       2
         Meta Privacy Policy - How Meta collects and uses user data, META: PRIVACY CENTER
(June 15, 2023), https://bit.ly/3uFCwbD; see also Meta United States Regional Privacy Notice,
META: PRIVACY CENTER (July 1, 2023), https://bit.ly/3GHojxH.
       3
         Meta Privacy Policy - How Meta collects and uses user data, META: PRIVACY CENTER
(June 15, 2023), https://bit.ly/3uFCwbD.
                                                  5
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       15.     Meta permits consumers to earn money through Instagram and Facebook, and even

directly pays some users, called “creator[s],” financial bonuses. 4

       16.     Instagram allows users to purchase monetary gifts, which they can send to other

users. Instagram users “can purchase stars and use them to send [creators] gifts on Instagram.

Instagram will then provide [creators] with a revenue share from [their] reels that received gifts on

a monthly basis equal to $.01 USD for every star received from fans.” 5

       17.     When Montana consumers register to use the Instagram app, they enter a contract

with Instagram, known as the Terms of Use. The contract is supported by consideration: “Instead

of paying to use Instagram,” users gain access to the Instagram app and platform, and in

consideration for that benefit, they “acknowledge that [Meta] can show [the user] ads that

businesses and organizations pay [Meta] to promote on and off the Meta Company Products.” 6

Meta admits: “We use your personal data, such as information about your activity and interests, to

show you ads that are more relevant to you.” 7 The Terms of Use contracts require that Montana

users grant Instagram contractual permission to collect location information, “even if Location

Services is turned off in your device settings,” “includ[ing] . . . IP addresses to estimate your

general location.” 8 The Policy also informs users that Meta may receive and use information about




       4
            Earn Money with Badges, INSTAGRAM HELP CENTER (last visited Nov. 30, 2023),
https://bit.ly/3RmRPia.
         5
           How to earn money on Instagram Gifts, INSTAGRAM HELP CENTER (last visited Nov. 30,
2023), https://bit.ly/3RlL8gb; How To Send Gifts on Instagram Reels, INSTAGRAM HELP CENTER
(last visited Nov. 30, 2023), https://bit.ly/47DWpyg.
         6
           Terms of Use, INSTAGRAM HELP CENTER (July 26, 2022), https://bit.ly/410agwa.
         7
           Id.
         8
           Meta Privacy Policy - How Meta collects and uses user data, META: PRIVACY CENTER
(June 15, 2023), https://bit.ly/3uFCwbD.
                                                  6
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their other online and offline activity outside of Meta products. 9 Users “must agree to the Privacy

Policy to use Instagram.” 10

       18.      Instagram Shopping allows users to shop for and purchase items inside of the

Instagram app. These items will be shipped to the user, including users in Montana.

       19.      Defendants have availed themselves of the benefit of transacting business in

Montana through the marketing, sale, and operation of a well-known social media and advertising

network. Defendants are aware of their presence in Montana and the financial rewards they receive

from operating within the State of Montana. Defendants can attribute, at a minimum, millions of

dollars in revenue to activities in the State of Montana.

       20.      Venue is proper under 28 U.S.C. § 1391(b).

                                             PARTIES

       21.      Plaintiff is the State of Montana, ex rel. Austin Knudsen, Attorney General.

Pursuant to Mont. Code § 30-14-111(1), the State may seek civil enforcement of the Montana

Consumer Protection Act, including injunctive relief.

       22.      Defendant Meta Platforms, Inc. (“Meta”), formerly known as Facebook, Inc., is a

Delaware corporation with its principal place of business in Menlo Park, California. Meta, both

through its own acts and through its subsidiaries, develops, advertises, operates, and makes

available to Montana consumers internet-based social media products including Facebook,

Instagram, Messenger, and WhatsApp.

       23.      Meta’s subsidiaries include Instagram, LLC; Facebook Holdings, LLC; Facebook

Operations, LLC; Meta Payments Inc.; Meta Platforms Technologies, LLC; and Siculus, Inc.




       9
           Id.
       10
            Terms of Use, INSTAGRAM HELP CENTER (July 26, 2022), https://bit.ly/410agwa.
                                                  7
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       24.     In 2012, Meta purchased Instagram for the reported sum of one billion dollars.

       25.     Instagram, LLC, a wholly owned subsidiary of Meta, is a limited liability company

incorporated in Delaware with its principal place of business in Menlo Park, California.

       26.     Facebook Holdings, LLC, a wholly owned subsidiary of Meta, is a Delaware

limited liability company with its principal place of business in Menlo Park, California. Facebook

Holdings is the primary holding company for entities involved in Meta’s commercial activities.

Defendant Meta Platforms is the sole member of Facebook Holdings.

       27.     Facebook Operations, LLC is a Delaware limited liability company with its

principal place of business in Menlo Park, California. Defendant Meta Platforms is the sole

member of Facebook Operations.

       28.     Meta Payments, Inc. is incorporated in the State of Florida with its principal place

of business in Menlo Park, California. Meta Payments processes and manages all payments made

in the Meta platforms. Meta Payments is a wholly owned subsidiary of Meta Platforms and

Defendant Meta Platforms is the sole member of Meta Payments.

       29.     Meta Platforms Technologies, LLC is a Delaware limited liability company with

its principal place of business in Menlo Park, California. Originally organized as “Oculus VR,

LLC”, and previously known as Facebook Technologies, LLC, Meta Technologies was acquired

by Meta in 2014. Meta Technologies develops Meta’s virtual and augmented reality technology,

such as the Meta Quest line of services, among other technologies related to Meta’s platforms.

Defendant Meta Platforms is the sole member of Meta Technologies.

       30.     Siculus, Inc., a wholly owned subsidiary of Meta, is a Delaware corporation with

its principal place of business in Menlo Park, California. Siculus constructs data facilities and

otherwise supports the Meta platforms. Defendant Meta is the sole member of Siculus.



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        31.      Meta formulated, directed, controlled, had the authority to control, knew about,

should have known about, or participated in the material acts and practices alleged herein.

        32.      Defendants operate as a common enterprise, each of them jointly and severally

liable for the acts and practices alleged herein.


                                   FACTUAL ALLEGATIONS

        33.      Instagram is a social media platform that centers on photos and short videos (called

“Reels”) created, uploaded, and shared by users. Instagram users can also interact with one other

through one-to-one or group messaging, follow other users, shop for trending items, and search

for content on the platform.

        34.      Instagram is available as an application (“app”) to download on smartphones and

tablets, and most Instagram users interact with the platform that way. Users can download the

Instagram application from the Apple App Store, the Google Play Store, or the Microsoft Store.

        35.      Instagram is both hugely popular and hugely profitable. Instagram has 1 billion

active users. An estimated 72 percent of teens in the United States regularly use Instagram. 11 By

2021, Instagram’s revenues surpassed $45 billion, and Instagram was recently valued at over $100

billion.12

        36.      Defendants seek to attract children and teens to Instagram because they see children

as lifelong customers that set trends and are more likely to be influenced by ads.

        37.      When someone registers to use Instagram, the user must provide a birthday. A user

can only access the regular Instagram platform if the birthday provided indicates that the user is


        11
           Katherine Schaeffer, 7 facts about Americans and Instagram, PEW RESEARCH CENTER
(Oct. 7, 2021), https://pewrsr.ch/3RkzEd0.
        12
           Emily McCormick, Instagram Is Estimated to Be Worth More than $100 Billion,
BLOOMBERG (June 25, 2018), https://bloom.bg/3T5jt4y.
                                                    9
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 9 of 48




13 years old or older. This means that Instagram knows which users have told Instagram they are

17 years old or younger.

       38.     A user lands on Instagram’s “Feed” when opening the app. The “Feed” is a never-

ending stream of photos and advertisements personalized for the user by Instagram’s algorithm.

       39.     Instagram users can also search for content on Instagram using keywords and

hashtags. When a user types into Instagram’s search bar, Instagram’s “Autofill” function will

suggest search results.

       40.     Defendants’ products are known to be addictive and harmful to young people; they

were made that way by design. Defendants designed their products to encourage addictive and

compulsive use. Such features include: (1) audiovisual notifications that interrupt a young user at

any time of the day or night, popping up and encouraging an immediate return to the app; (2) an

infinite scroll and autoplay feature, meaning the young user will never reach the “end” of the

content to be viewed and the content will continue to play automatically; (3) a disappearing content

feature known as “stories,” requiring a user to view the content of a follower within a certain period

of time before it disappears; (4) the quantification and display of “likes” below posts; and (5) an

algorithmic content feed targeted to the particular user, including content from accounts the user

follows, accounts the user does not follow, and advertisements. These features promote social

competition to prey on a young user’s fear of missing out on content. Defendants also encourage

the use of filters—for example, “beauty filters” that distort an image with slightly altered and more

“beautiful” features, while failing to alert users when an image or video has been distorted by a

filter. These features together strongly encourage young users’ compulsive and harmful use of

Instagram.




                                                 10
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       41.     Meanwhile, Defendants fail to provide several key protective features. For

example: (1) Defendants fail to provide effective parental control features, including a notification

to parents when children are using the platforms; (2) Defendants provide no option for users to

self-restrict the time spent on an app; (3) Defendants make it challenging for users to delete their

accounts; and (4) Defendants have failed to implement reporting protocols to allow users to report

certain harmful accounts without the need to create or log in to the products.

       42.     Instagram publishes “Community Guidelines,” a set of rules for what content users

are allowed to post on Instagram. Instagram relies on content moderation to police the Community

Guidelines. Moderation is carried out through artificial intelligence and human moderators. 13

       43.     Although Instagram does not charge a fee per download for most users, Meta does

not provide Instagram or its other products for free. Rather, users download and use Instagram in

exchange for valuable consideration: their personal data and time, which secures Meta significant

advertising revenues.

       44.     Some users do pay to use Instagram, as Defendants offer a “verified” feature for

certain premium features, including a blue check mark by the account name. “Meta Verify costs

$14.99/month for verification on the Facebook or Instagram app and $11.99/month to be verified

on Facebook’s web version.” 14

       45.     Instagram’s Terms of Use, a contract with users, makes this clear. Instagram states:

“Instead of paying to use Instagram, by using the Service covered by these Terms, you

acknowledge that we can show you ads that businesses and organizations pay us to promote on




       13
           How Instagram Uses Artificial Intelligence to Moderate Content, INSTAGRAM HELP
CENTER (last visited Nov. 30, 2023), https://bit.ly/3TbHBCq.
        14
           Jada Jones, Are You Meta Verified? Here's What It Is, How Much It Costs, And What
Perks It Gets You, ZDNET (Mar. 27, 2023), https://zd.net/410rcmu.
                                                 11
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 11 of 48




and off the Meta Company Products. We use your personal data, such as information about your

activity and interests, to show you ads that are more relevant to you.” 15

       46.     The Instagram Shopping feature allows businesses to advertise and sell goods

directly to consumers in the Instagram app, which users can purchase and pay for directly in the

Instagram platform. 16

       47.     Meta’s Creator Monetization Tools allows users to make money through Instagram

and Facebook. 17

       48.     Meta is continuously targeting young users by expanding into new platforms

beyond Instagram, including Meta’s Metaverse, where users are immersed into a virtual world,

and Meta’s communication platforms like WhatsApp and Messenger.

                                     APPLE’S APP STORE

       49.     Apple requires Defendants to answer an age-rating questionnaire when they submit

the Instagram app to be included in Apple’s App Store. Apple says that apps that host user-

generated content (like Instagram) “should share the age rating of the highest age-rated creator

content available in the app[.]” App Store Review Guidelines, APPLE (June 5, 2023),

https://apple.co/3GofRTO.

       50.     Apple’s age-rating questionnaire asks Defendants to self-select the answer “none,”

“infrequent/mild,” or “frequent/intense” to describe the content available on the Instagram app in

each of the following categories: “Alcohol, Tobacco or Drug Use or References,” “Sexual Content

or Nudity,” “Mature/Suggestive Themes,” and “Profanity or Crude Humor.” Based on the self-


       15
          Terms of Use, INSTAGRAM HELP CENTER (July 26, 2022), https://bit.ly/410agwa.
       16
          Instagram Shopping Helps You Reach New Customers, META (last visited Nov. 30,
2023), https://bit.ly/3N8vCSB.
       17
          Aisha Malik, Meta To Roll Out New Monetization Tools on Instagram and Facebook,
Including a Creator Marketplace, TECHCRUNCH (June 21, 2022), https://tcrn.ch/3uECJvy.
                                                 12
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selected answers to these questions, Apple suggests an age-rating. Apple also offers every app

developer (including Defendants) the option to self-select a higher age rating than the one Apple

suggests.

       51.       In each of the categories just listed, Defendants self-select the answer

“infrequent/mild.” By doing so, Instagram chooses to have the following statements displayed on

its page in the App Store:

       “Infrequent/Mild Profanity or Crude Humor”

       “Infrequent/Mild Mature/Suggestive Themes”

       “Infrequent/Mild Sexual Content and Nudity”

       “Infrequent/Mild Alcohol, Tobacco, or Drug Use or References” 18

       52.       Because of its “infrequent/mild” answers, Defendants also cause Apple to offer a

“12+” age rating option. Apple defines apps with the “12+” age rating as apps that “may also

contain infrequent mild language, frequent or intense cartoon, fantasy, or realistic violence,

infrequent or mild mature or suggestive themes, and simulated gambling, which may not be

suitable for children under the age of 12.” Meta chooses to rate the Instagram app “12+.”

       53.       The next higher (and highest) age rating is “17+.” Apple offers Defendants the

option to choose a “17+” age rating, but Defendants have never done so. Apple defines apps with

the “17+” age rating as apps that “may also contain frequent and intense offensive language,

frequent and intense cartoon, fantasy, or realistic violence, and frequent and intense mature, horror,

and suggestive themes; plus sexual content, nudity, alcohol, tobacco and drugs which may not be

suitable for children under the age of 17.”

       54.       Instagram is responsible for its age rating in the App Store.



       18
            Instagram, APPLE APP STORE (last visited Nov. 30, 2023), https://apple.co/3R4Qtao.
                                                  13
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       55.     Defendants continue to improperly claim a “12+” rating for the Instagram app,

because Instagram contains frequent: profanity or crude humor; alcohol, tobacco, and drug use or

references; sexual content or nudity; and mature/suggestive themes. Instagram also contains

intense: profanity or crude humor; alcohol, tobacco, and drug use or references; sexual content or

nudity; and mature/suggestive themes. Users are presented with this content in their

algorithmically-driven Feed without having searched for it, including users registered as only 13

years old. Users can also search for and find this content on Instagram, including users registered

as only 13 years old. Photos and videos containing these kinds of content receive millions—even

hundreds of millions—of views. Users who type only a few letters into Instagram’s search bar will

be presented with search suggestions that reference profanity or crude humor, alcohol, tobacco,

and drugs, sexual content or nudity, and mature/suggestive themes.

       56.     Defendants are aware of these problems. Instagram uses content moderators to

detect and remove content from its platform that violate its policies, but these efforts do not cause

(1) alcohol, tobacco, and drug use or references, (2) sexual content and nudity, (3)

mature/suggestive themes, or (4) profanity and crude humor to be “infrequent/mild” on the

platform. Rather, a substantial amount of content inconsistent with each of Instagram’s age-rating

representations is available on Instagram to all users, including those who register as only 13 years

old.


Profanity or crude humor.

       57.     Profanity is not infrequent/mild on Instagram. Instagram permits substantial

profanity and fails to even attempt to filter profane words in its in-app search function or in




                                                 14
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usernames of profiles on the platform. Further, Instagram permits explicit versions of songs,

including videos set to explicit music.

       58.       The State’s own research using a test account reveals that profanity is rampant on

Instagram. Instagram reels are often set to music, yet profanity in song lyrics is not censored at all.

Lyrics like: “Sex in the air, I don’t care I love the smell of it;” and “Before I die I’m tryna fuck

you baby, hopefully we don’t have no babies” played without any warning. In videos, creators

frequently use words like “fuck,” “pussy,” “ass,” “bitch,” and “cunt.”

       59.       Despite all of this, Defendants tell consumers in the App Store that “profanity or

crude humor” is “infrequent/mild” on the platform. That representation is deceptive and unfair.


Alcohol, tobacco, and drug use or references.

       60.       Alcohol, tobacco, and drug use or references are not “infrequent/mild” on

Instagram.

       61.       An investigative report by the Digital Citizens Alliance revealed that drugs are

bought and sold on Instagram. The report concluded that “Facebook-owned Instagram is the

second most popular social media app with teens and the home to dealers peddling opioids.” 19

“Particularly troubling was the fact that as researchers followed more drug dealers, Instagram’s

algorithms didn’t stop it. Rather, the platform amplified the problem – pushing more drug sellers

toward the researcher’s account.” 20 The investigative report included photos of drugs being

advertised on Instagram:




       19
            Digital Weeds, Digital Citizens Alliance, at 13 (2021), https://bit.ly/46Q5pzK (2021).
       20
            Id. at 13.
                                                  15
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        62.       The Digital Citizens Alliance also cataloged Instagram accounts devoted solely to

selling drugs: 21




        21
             Id. at 14.
                                                 16
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       63.       The report further evidenced the ease with which an Instagram user can purchase

illegal drugs via Instagram’s direct messaging platform. 22 For example:




       22
            Id. at 15–16.
                                                17
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 17 of 48




        64.    Other investigative reporting revealed that “Instagram allows teen users as young

as 13 to find potentially deadly drugs for sale in just two clicks, according to a Tech Transparency

Project (TTP) investigation.” 23 “Instagram says it prohibits buying and selling of drugs. But TTP

found that minor users had access to a range of pharmaceuticals on the platform.” 24 “TTP created

multiple Instagram accounts for minors between the ages of 13 and 17 and used them to test teen

access to controlled substances on the platform.” 25 “Not only did Instagram allow the hypothetical

teens to easily search for age-restricted and illegal drugs, but the platform’s algorithms helped the

underage accounts connect directly with drug dealers selling everything from opioids to party

drugs.” 26




        23
          Xanax, Ecstasy, and Opioids: Instagram Offers Drug Pipeline to Kids, TECH
TRANSPARENCY PROJECT (Jan. 11, 2022), https://bit.ly/3rPRJG4.
      24
         Id.
      25
         Id.
      26
         Id.
                                                 18
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       65.     TTP’s investigation concluded:

               When a hypothetical teen user logged into the Instagram app, it
               only took two clicks to reach an account selling drugs like Xanax.
               In contrast, it took more than double the number of clicks—five—
               for the teen to log out of Instagram.

               Instagram bans some drug-related hashtags like #mdma (for the
               party drug ecstasy), but if the teen user searched for #mdma,
               Instagram auto-filled alternative hashtags for the same drug into
               the search bar.

               When a teen account followed a drug dealer on Instagram, the
               platform started recommending other accounts selling drugs,
               highlighting how the company’s algorithms try to keep young
               people engaged regardless of dangerous content.

               Drug dealers operate openly on Instagram, offering people of any
               age a variety of pills, including the opioid Oxycontin. Many of
               these dealers mention drugs directly in their account names to
               advertise their services. 27

       66.     In conclusion, Instagram is “allowing drug dealers to do business on the platform,

in violation of its Community Guidelines which prohibit the ‘buying or selling non-medical or

pharmaceutical drugs.’ ” 28 “What’s more, Instagram allows teens—one of its most vulnerable user

populations—to jump into this marketplace with no guardrails.” 29

       67.     Even when Instagram is made aware of drug content that violates its Community

Guidelines, it declines to remove the offending content. “During the course of TTP’s investigation,

our researchers submitted 50 posts to Instagram that appeared to violate the company’s policies

against selling drugs. After review, Instagram responded that 72% of the flagged posts (36) did

not violate its Community Guidelines, despite clear signs of drug dealing activity.” 30 “Instagram




       27
          Id.
       28
          Id.
       29
          Id.
       30
          Id. (emphasis in original).
                                                19
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 19 of 48




removed 12 of the posts and said it took down an entire account that had violated company policy.

However, when TTP checked later, the account in question was still active (along with its violating

post).” 31 “Among the content that Instagram determined did not violate its policies: [a] Xanax-

selling account that made multiple unsolicited calls to [a] hypothetical teen user.” 32

        68.      Instagram also knowingly exposes minors to alcohol content, including

advertisements for alcohol. “Instagram allows accounts like alcohol brands to restrict content to

people over a certain age, but it’s entirely voluntary.” 33

        69.      The State’s own research using a test account reveals extreme alcohol content on

Instagram. A user registered as a 13-year-old can search for the phrase “drinking game” and access

several accounts dedicated to showcasing acts of binge drinking. One such account, for example,

“frathouse_drinkinggames” depicts a young man on his knees, drinking out of an orange traffic

cone while someone else stuffs several beers down the traffic cone.

        70.      The State’s investigation determined that tobacco and vaping content is also

prevalent and extreme. Vapes are even advertised on Instagram, including to children as young as

13. One account dedicated to that practice advertised new colors and designs of vapes, and featured

the claim of providing “12000 Puffs.”

        71.      The State’s investigation also revealed that extreme drug content is rampant on

Instagram. Drug content is easy to find and to access. Posts related to illegal drugs are often

organized with an emoji (or cartoon image) of a pill or needle. Searching the pill and needle

together reveals 21,500 posts. The needle emoji reveals 276,000 posts. A thirteen-year-old user

can also search the word “weed” to see several accounts dedicated solely to showcasing marijuana


        31
           Id.
        32
           Id.
        33
           Id.
                                                  20
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 20 of 48




use and promotion. Once in the world of illegal drugs on Instagram, a thirteen-year old can be

exposed to the most extreme forms of drug-related images. For example, the State’s test account

was shown a video actually demonstrating intravenous drug use in real time, including the insertion

of the needle into an arm. The video was captioned with the pill emoji and the hashtag “#trending.”

Thirteen-year-olds are also exposed to active marijuana use on video, with users smoking

cigarettes and from bongs, shrouded in marijuana smoke. In one video, a scantily-clad woman

danced suggestively in a hot tub to explicit song lyrics, holding up her middle finger, while

smoking marijuana. Finally, because Instagram permits profanity and other harmful content in

songs without any filtering, song lyrics also include references to drugs, like “I’m selling

prescription cocaine.”

       72.     Based on the extensive public reporting of drug content available to children on

Instagram, Defendants are aware that drug references are not “infrequent/mind” on Instagram.

       73.     Despite all of this, Defendants tell consumers in the App Store that “alcohol,

tobacco, and drug … references” are “infrequent/mild” on the platform. That representation is

deceptive and unfair.


Sexual content and nudity.

       74.     Sexual content and nudity on Instagram is not “infrequent/mild.”

       75.     A recent investigation by The Wall Street Journal and researchers at Stanford

University and the University of Massachusetts Amherst uncovered extensive sexual content on

Instagram, including readily accessible child pornography content. The researchers concluded that

Instagram not only permits the access of child pornography on Instagram—it promotes it.

“Pedophiles have long used the internet, but unlike the forums and file-transfer services that cater




                                                21
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to people who have interest in illicit content, Instagram doesn’t merely host these activities. Its

algorithms promote them.” 34

        The researchers found that Instagram enabled people to search explicit hashtags
        such as #pedowhore and #preteensex and connected them to accounts that used the
        terms to advertise child-sex material for sale. Such accounts often claim to be run
        by the children themselves and use overtly sexual handles incorporating words such
        as ‘little slut for you.’ 35

“Certain [Instagram] accounts invite buyers to commission specific acts” with children, including

“prices for videos of children harming themselves and ‘imagery of the minor performing sexual

acts with animals[.]’ ” 36

        76.      Pornography is available and easily accessible on Instagram. Instagram imposes no

meaningful barriers to prevent children from being exposed to or searching for pornography.

        77.      One method by which Instagram users post pornography on Instagram is “tagging.”

Instagram users can post explicit content on their own accounts, and then “tag” or make a

connection to another account. Then, any other user who visits the “tagged” account can discover

the account with sexually explicit posts with just one click.

        78.      Instagram also contains an in-app browser that allows users to click on a link and

view an external website without exiting Instagram. Users have been able to use this feature to link

to a search engine, then search for and view hard core pornography—all without leaving the

Instagram app.




        34
            Jeff Horwitz & Katherine Blunt, Instagram Connects Vast Pedophile Network, WALL
ST. J. (June 7, 2023), https://on.wsj.com/47zZI9O.
         35
            Id.
         35
            Id.
         35
            Id.
         36
            Id.
                                                 22
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 22 of 48




       79.     Many Instagram accounts hosting pornography post links to pornographic websites

in their account biography or “bio,” which allows a user to click the link and open such sites within

Instagram’s in-app browser. Thus, a thirteen-year-old user of Instagram can easily use the

Instagram app to search for and find pornography.

       80.     Young users can use these features to access pornography through Instagram even

if parental controls were enabled on their device and would otherwise have prevented the user

from accessing this content on an ordinary web browser.

       81.     The State’s own research using a test account reveals that nudity, sexual content,

and full-on pornography is widespread and easily accessed on Instagram. Examples abound. A

search of hashtags including the phrase “nsfw” (with “nsfw” meaning “not safe for work,” a code

for sexually explicit content) reveals countless sexual videos. “Nsfwmemes,” for example, reveals

29,600 posts. One video shows a young woman holding a sex toy between her legs with her legs

spread open. Another shows a young woman in nothing but a thong with her nipples blurred. Sex

acts are shown to thirteen-year-old users, often in cartoon form. In one video, a cartoon depicts a

man fully nude, sitting on a chair with his legs spread open and his hand gripping his penis. Cartoon

scenes of lesbian sex are easily accessible and left uncensored. One depiction shows two women

fully nude, licking each other’s nipples and rubbing their bodies together with no blurring. The

caption read: “NSFW Use headphones.” Cartoons also depict males having anal sex. Another

cartoon shown to the State’s test account depicted a young male tied up in a doctor’s chair with

his hands bound above his head. A male doctor inserts a sex toy into the boy’s anus. The text on

the image reads: “Relax for me a little, would you.” Yet another shows a boy masturbating in bed

with his legs bound, surrounded by bottles of lubricant.




                                                 23
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 23 of 48




       82.     Pornographic content is not just depicted in videos and images on Instagram, but

also in text. One post presented to the State’s test account included the text: “Instead of calling me

your daughter, you label me as a slut. In that case dad it’s true I love to f*ck!” Another described

“Phantom of the opera” as “[w]hen you cum on half of a girl’s face and let it run down her face so

she looks like a organ playing freak,” and provided the example: “Last night after sex I turned my

girl’s face to the side while she was sleeping and gave her a Phantom of the Opera.” Other posts

described sexual scenes in detail. For example: “letting you hump my thigh, and making you cum

on my lap. . . . good boy. wanna cum inside me now?” The post was captioned: “Yes please

Mommy.” Another example of written pornography on Instagram included:

       The dom pins one of her thighs to the bed. . . . As he gets the wand closer to her
       pussy. He grazes her clit slightly and just the mere second of contact, makes her
       clench. It feels like she might just orgasm again just by that second of that. Not
       giving her a chance to recover he presses the vibrator against her cunt again. She
       twitches and squirms around unable to handle the overwhelming pleasure as cries
       of satisfaction leave[] her mouth.

       83.     Another Instagram post described a “Fauxcest kink,” which is a way to describe a

sexual interest in incestual relationships. The post showed the following text to an account

registered to a thirteen-year-old:

       Fauxcest kink? Oh so the emotional neglect of your parents left you deeply
       emotionally lonely? You wanna feel the love of someone who’s known you forever
       and loves you regardless? You want them to love you so much, they fuck you when
       they know they shouldn't? Ah, I see. Pretty fucked up. C’mere kiddo.

       84.     Although Instagram permits thirteen-year-old users to easily access and view these

photos, videos, and text posts without limit, some users do what Instagram refuses to do: actually

putting a warning on their own posts, noting that content is “nsfw” or should be watched “with

caution” or with a “parental advisory.” These warnings provide no limit whatsoever to a thirteen-

year-old user’s ability to access such content.


                                                  24
        Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 24 of 48




       85.      Despite all of this, Defendants tell consumers in the App Store that “sexual content

and nudity” is “infrequent/mild” on the platform. That representation is false, misleading, and

deceptive.


Mature/suggestive themes.

       86.      “Mature/suggestive themes” include content related to the topics already

described—alcohol, tobacco, drugs, sex, nudity, profanity, and crude humor—as well as other

complex themes that are suitable only for adult audiences.

       87.      “Mature/suggestive themes” are not “mild/infrequent” on Instagram.

       88.      The recent investigation by The Wall Street Journal and researchers at Stanford

University and the University of Massachusetts Amherst proves as much. The investigation

uncovered that “Instagram, the popular social-media site owned by Meta Platforms, helps connect

and promote a vast network of accounts openly devoted to the commission and purchase of

underage-sex content.” 37

       The researchers found that Instagram enabled people to search explicit hashtags
       such as #pedowhore and #preteensex and connected them to accounts that used the
       terms to advertise child-sex material for sale. Such accounts often claim to be run
       by the children themselves and use overtly sexual handles incorporating words such
       as ‘little slut for you.’ 38

       89.      Defendants actively promote child pornography on Instagram. “Pedophiles have

long used the internet, but unlike the forums and file-transfer services that cater to people who

have interest in illicit content, Instagram doesn’t merely host these activities. Its algorithms

promote them.” 39 “Test accounts set up by researchers that viewed a single account in the [child




       37
          Id.
       38
          Id.
       39
          Id.
                                                 25
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 25 of 48




abuse] network were immediately hit with ‘suggested for you’ recommendations of purported

child-sex-content sellers and buyers, as well as accounts linking to off-platform content trading

sites.” 40 “Following just a handful of [Instagram’s] recommendations was enough to flood a test

account with content that sexualizes children.” 41

        90.      Underage sex content is prevalent and easily accessible on Instagram. “Current and

former Meta employees who have worked on Instagram child-safety initiatives estimate the

number of accounts that exist primarily to follow such content is in the high hundreds of thousands,

if not millions.” 42 And a “Meta spokesman” stated that the company removed “490,000 accounts

for violating its child safety policies in January alone.” 43

        91.      The researchers, comparing Instagram to other social media platforms, concluded

that “the problem [with child pornography] on Instagram is particularly severe.” 44

        92.      Defendants know that their product displays, and in some cases promotes, child

pornography content. “In many cases, Instagram has permitted users to search for terms that its

own algorithms know may be associated with illegal material.” 45 In such cases, Defendants still

permitted users to access the child pornography content. “[A] pop-up screen for users warned that

‘These results may contain images of child sexual abuse,’ . . . [t]he screen offered two options for

users: ‘Get resources’ and ‘See results anyway.’ ” 46 Only after the Wall Street Journal’s




        40
           Id.
        41
           Id.
        42
           Id.
        43
           Id.
        44
           Id.
        45
           Id.
        46
           Id.
                                                   26
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 26 of 48




investigation did Defendants change their practice of identifying child pornography and then

prompting its users to “see results anyway.” 47

        93.    Even when users make Defendants aware of child pornography content on

Instagram, such content goes unaddressed by Defendants. “Earlier this year, an anti-pedophile

activist discovered an Instagram account claiming to belong to a girl selling underage-sex content,

including a post declaring, ‘This teen is ready for you pervs.’” 48 “When the activist reported the

account, Instagram responded with an automated message saying: ‘Because of the high volume of

reports we receive, our team hasn’t been able to review this post.’ ” 49 “After the same activist

reported another post, this one of a scantily clad young girl with a graphically sexual caption,

Instagram responded, ‘Our review team has found that [the account’s] post does not go against our

Community Guidelines.’ The response suggested that the user hide the account to avoid seeing its

content.” 50

        94.    Defendants are aware that their product leads young people, especially girls and

young women, to mental health crises including self-harm and—in many cases—suicide. In one

internal presentation later leaked to the public, Defendants stated that: “Among teens who reported

suicidal thoughts, 13% of British users and 6% of American users traced the desire to kill

themselves to Instagram.” 51 “Repeatedly, [Defendants’ own] researchers found that Instagram is

harmful for a sizable percentage of [young users], most notably teenage girls.” 52 Defendants stated:



        47
           Id.
        48
           Id.
        49
           Id.
        50
           Id.
        51
           Georgia Wells, Jeff Horwitz, & Deepa Seetharaman, Facebook Knows Instagram Is
Toxic for Teen Girls, Company Documents Show, WALL ST. J. (Sept. 14, 2021),
https://on.wsj.com/3uEkt5s.
        52
           Id.
                                                  27
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“We make body image issues worse for one in three teen girls.” 53 Instagram even promotes content

that explicitly references and in some cases encourages self-harm and suicide. One comprehensive

study found that: “Looking into purposive samples of Instagram posts tagged with self-harm

related hashtags, studies report finding self-harm or suicide content in between 9–66% of their

studied posts.” 54 “Studies assessing Instagram’s efforts to tackle such content found they had not

been very effective.” 55

       95.     Defendants are also aware that teenagers suffer sexual extortion scams on

Instagram. An investigation by the Washington Post revealed a practice on Instagram by which

one user, posing as a teenager, messages a teen user to request sexual photos. Once the teenager

sends the photos, the user then extorts the teenager for money, threatening to release the

incriminating sexual photos if the teenager does not comply. 56 The investigation cited “more than

10,000 tips of financial sextortion of minors, primarily boys, in 2022[.]” 57 “By the end of July

2023,” a clearinghouse for reports of abuse had received “12,500 reports . . . with more continuing

to pour in.” 58 Instagram is aware of the harms of this mature content on its app. “At least a dozen

boys died by suicide in 2022, after they were blackmailed, according to the FBI.” 59

       96.     The State’s own research using a test account reveals that Instagram frequently

depicts mature content, including extreme violence. The State’s test account was frequently shown



       53
           Id.
       54
           Jacobo Picardo, et al., Suicide And Self-Harm Content On Instagram: A Systematic
Scoping Review, NIH: NAT’L LIBRARY OF MEDICINE (Sept. 2, 2020),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7467257/.
        55
           Id.
        56
           Chris Moody, ‘IDK what to do’: Thousands of teen boys are being extorted in sexting
scams, WASH. POST (Oct. 2, 2023), https://wapo.st/49WbNHL.
        57
           Id.
        58
           Id.
        59
           Id.
                                                28
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videos and photographs of fatal accidents. For example, one video depicted from the point of view

of a motorcyclist shows a large vehicle flying toward the camera and crushing the motorcyclist.

Other videos show young men jumping off of cliffs and other high surfaces, or running into

oncoming vehicles and being injured. One video showed a motorcycle colliding with an oncoming

car with the text “Suicide?” Another video showed an oncoming car being run over by a train with

the text “instant death.” Defendants provide no warning about violence in the description of

Instagram’s 12+ rating in the App Store—not even listing violence as mild/infrequent, as it does

with the other categories of harmful content. Defendants thus falsely represent that there is no

violence on the Instagram app.

       97.     Public reporting reveals that Instagram knowingly depicts mature content related

to body dysmorphia and eating disorders. 60 An internal presentation conducted by Defendants

revealed that: “We make body image issues worse for one in three teen girls.” 61 Once a young user

has expressed interest in content related to body image or eating disorders, the app continues to

recommend such content, creating a spiral for the young user. As the Wall Street Journal reported,

internal documents revealed that “Facebook is acutely aware that the products and systems central

to its business success routinely fail. . . . The documents also show that Facebook has made

minimal efforts to address these issues and plays them down in public.” 62

       98.     Despite all of this, Defendants tell consumers in the App Store that

“mature/suggestive themes” are “infrequent/mild” on the platform. That representation is

deceptive and misleading.


       60
           Georgia Wells, Jeff Horwitz, & Deepa Seetharaman, Facebook Knows Instagram Is
Toxic for Teen Girls, Company Documents Show, WALL ST. J. (Sept. 14, 2021),
https://on.wsj.com/3uEkt5s.
        61
           Id.
        62
           Id.
                                               29
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                        GOOGLE PLAY AND MICROSOFT STORES

        99.     Defendants also make the Instagram app available in the Google Play and Microsoft

Stores. To do so, Defendants are required to answer age-rating questions by self-reporting details

about the content and features available on Instagram. Defendants respond to these age-rating

questions in a way that allows them to claim a “T for Teen” age rating for Instagram. Defendants

know and intend that Google and Microsoft will convey the “T” for “Teen” age rating to consumers

on Instagram’s behalf. A “T” for “Teen” rating is defined as: “Content is generally suitable for

ages 13 and up. May contain violence, suggestive themes, crude humor, minimal blood, simulated

gambling and/or infrequent use of strong language.” By contrast, an “M” for “Mature” rating is

defined as: “Content is generally suitable for ages 17 and up. May contain intense violence, blood

and gore, sexual content and/or strong language.” 63

        100.    This content is prevalent on Instagram. “Current and former Meta employees who

have worked on Instagram child-safety initiatives estimate the number of accounts that exist

primarily to follow [sexualized child] content is in the high hundreds of thousands, if not

millions.” 64

        101.    As already described, the content on Instagram is not “generally suitable for ages

13 and up” and does not include only the “infrequent use of strong language.” Instagram contains

“intense … sexual content and/or strong language.” Instagram’s choice to claim a “T for Teen”

rating in the Google Play and Microsoft Stores is deceptive and unfair. Instagram can accurately

claim only an “M for Mature” rating in the Google Play and Microsoft Stores.




        63
            Apps & Games content ratings on Google Play, GOOGLE PLAY (last visited Nov. 30,
2023), https://bit.ly/4advjzV.
         64
            Jeff Horwitz & Katherine Blunt, Instagram Connects Vast Pedophile Network, WALL
ST. J. (June 7, 2023), https://on.wsj.com/47zZI9O.
                                                30
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                                  COMMUNITY GUIDELINES

       102.     Instagram’s Community Guidelines inform users about what content Instagram

permits. Instagram tells its users: “If you see something that you think may violate our guidelines,

please help us by using our built-in reporting option. We have a global team that reviews these

reports and works as quickly as possible to remove content that doesn’t meet our guidelines.” 65

Defendants largely rely on users to police and report harmful content, claiming that “[m]any

disputes and misunderstandings can be resolved directly between members of the community.” Id.

       103.     Specifically, the Community Guidelines state:

       •    “We know that there are times when people might want to share nude images
            that are artistic or creative in nature, but for a variety of reasons, we don’t allow
            nudity on Instagram. This includes photos, videos, and some digitally-created
            content that show sexual intercourse, genitals, and close-ups of fully-nude
            buttocks. It also includes some photos of female nipples, but photos in the
            context of breastfeeding, birth giving and after-birth moments, health-related
            situations (for example, post-mastectomy, breast cancer awareness or gender
            confirmation surgery) or an act of protest are allowed. Nudity in photos of
            paintings and sculptures is OK, too.” 66

       •    “We also remove content that attempts to trade, co-ordinate the trade of, donate,
            gift, or ask for non-medical drugs, as well as content that either admits to
            personal use (unless in the recovery context) or coordinates or promotes the use
            of non-medical drugs.” 67

       •    The Community Guidelines do not mention profanity.

       104.     As already alleged, drug-related and sexual content and other mature content and

profanity is abundant on Instagram and is not restricted to users aged 18 and older. The Community

Guidelines are deceptive and unfair because they mislead users into believing this content is not




       65
             Community Guidelines, INSTAGRAM HELP CENTER (last visited Nov. 30, 2023),
https://bit.ly/46y3fnL.
        66
           Id.
        67
           Id.
                                                   31
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available on Instagram. The Community Guidelines also fail to warn users and parents about the

intensity or frequency of mature and vulgar content on Instagram, including pornography.

        105.    Defendants also publicly misrepresent the degree and frequency with which

Instagram’s Community Guidelines are violated. In particular, Meta has publicly represented that

the statistics in its Community Standard Enforcement Reports are a reliable measure of the safety

of its platforms. 68

                                        PUBLIC STATEMENTS

        106.    Defendants have made numerous deceptive public statements to Montana

consumers about Instagram’s age ratings, content moderation, and children’s use of the app.

        107.    Head of Instagram Adam Mosseri testified: “If a child is under the age of 13, they

are not permitted on Instagram. When we learn someone underage has created an account, we

remove them.” 69

        108.    Mosseri assured the public that Instagram has “put in place multiple protections to

create safe and age-appropriate experiences for people between the ages of 13 and 18.” 70 And that

Instagram “create[s] age-appropriate experiences for teenagers on Facebook and Instagram,”

through “age gating certain content, prohibiting certain types of ads from being served to minors,

and limiting options for serving any ads to these users.” 71 He also advertised a “new experience”




        68
           Measuring Prevalence of Violating Content on Facebook, META NEWS (May 23, 2019),
https://bit.ly/47HTzsg.
        69
            Hearing Before the United States Senate Committee on Commerce, Science, and
Transportation Subcommittee on Consumer Protection, Product Safety, and Data Security,
Testimony of Adam Mosseri, at 2 (Dec. 8, 2021), https://bit.ly/46Yon73.
        70
           Id. at 2.
        71
           Id. at 3.
                                                32
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 32 of 48




on Instagram that “will make it harder for young people to find potentially sensitive content on

Instagram.” 72

       109.      Instagram tells the public: “When we find content (example: post, comment, story)

that goes against our Community Guidelines, we remove it from Instagram.” 73 Instagram further

assures its users: “Our Community Guidelines define what is and isn't allowed on Instagram, and

they apply all over the world.” 74

       110.      Other examples of deceptive public statements abound. (1) In 2021, Antigone

Davis, Vice President and Global Head of Safety for Meta, testified to Congress, “We have put in

place multiple protections to create safe and age-appropriate experiences for people between the

ages of 13 and 17.” 75; (2) Also in 2021, Davis testified: “we don’t allow young people to see

certain types of content. And we have age gating around certain types of content.” 76; (3) Davis

stated: “When it comes to those between 13 and 17, We consult with experts to ensure that our

policies properly account for their presence[, f]or example, by age-getting content.” 77

       111.      An Instagram spokesperson told a news outlet that Instagram has “zero tolerance

when it comes to content that puts the safety of our community at risk.” 78




       72
           Id.
       73
           How Instagram Uses Artificial Intelligence to Moderate Content, INSTAGRAM HELP
CENTER, (last visited Nov. 30, 2023), https://bit.ly/3TbHBCq.
        74
           Id.
        75
           Taylor Hatmaker, Instagram’s Adam Mosseri Defends the App’s Teen Safety Track
Record to Congress, TECHCRUNCH (Dec. 8, 2021), https://tcrn.ch/3sMB4ni.
        76
           Facebook Head of Safety Testimony on Mental Health Effects: Full Senate Hearing
Transcript, REV (Sept. 30, 2021), https://bit.ly/47Z4MnZ.
        77
           Id.
        78
            Facebook shuts down drug hashtags on Instagram, CBS NEWS (Apr. 18, 2018),
https://cbsn.ws/4113Wog.
                                                33
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        112.    An Instagram spokesperson told another news outlet that pornography is “strictly

forbidden on the site.” 79

        113.    As already alleged, drug-related, sexual, and other mature content and profanity is

abundant on Instagram and is not restricted to users aged 18 and older. These public statements to

the contrary are deceptive and unfair because they mislead users into believing this content is not

available on Instagram. Instagram’s public statements also fail to warn users and parents about the

intensity or frequency of mature and vulgar content on Instagram, including pornography.

                                 RELEVANCE TO PARENTS

        114.    Defendants’ misrepresentations—the age ratings, associated public statements,

assurances in the Community Guidelines, and related omissions—are material to the decisions that

parents and other consumers make about whether and how to use the Instagram app. Just as a

parent might determine which movies are appropriate for their children based on the “rating” a

movie receives (G, PG, PG-13, or R), so too do parents check the age rating of apps before allowing

their children to download and use them. Parents may supervise their children’s devices to see

which apps their children are downloading, or they can use parental controls to prevent their

children from downloading apps with particular age ratings. For example, a parent may use

parental controls on a 13-year-old’s iPhone to automatically prevent the 13-year-old child from




        79
           Lauren C. Williams, Why Did Instagram Ban ‘Curvy’?, THINKPROGRESS (July 19, 2015),
https://bit.ly/3sOfH4Z .
                                                34
         Case 4:24-cv-00805-YGR Document 1 Filed 12/01/23 Page 34 of 48




downloading any app with a 17+ age rating. Parents also read information about apps before

allowing their children to download them, and they research apps’ parental control features.

       115.    Defendants’ deceptive age ratings and the other deceptive statements identified

herein are aimed at preventing parents who are unfamiliar with the content on Instagram from

developing and acting on such concerns.

               ALLEGATIONS COMMON TO ALL STATE-LAW COUNTS

       116.    The Montana Consumer Protection Act provides that “unfair or deceptive acts or

practices in the conduct of any trade or commerce are unlawful.” Mont. Code § 30-14-103.

       117.    By advertising and offering the Instagram app for general consumers on multiple

platforms in exchange for valuable consideration, Defendants engage in “trade or commerce” as

defined by Mont. Code § 30-14-103.

       118.    Instagram has and is engaged in “deceptive act[s] or practice[s],” id., in several

independent ways by making false, misleading, and deceptive representations related to the age

rating of its app, and through the willful exaggeration of material facts, and through the omission

of material facts regarding the content and features available on its app.

       119.    The MCPA states that: “It is the intent of the legislature that in construing 30-14-

103 due consideration and weight shall be given to the interpretations of the federal trade

commission and the federal courts relating to section 5(a)(1) of the Federal Trade Commission

Act.” Mont. Code Ann. § 30-14-104(1). The FTC in turn defines “deceptive” to mean “likely to

mislead consumers acting reasonably under the circumstances.” See Enforcement Policy Statement

on Deceptively Formatted Advertisements, at 1, FED. TRADE COMMISSION (2015), available at

https://bit.ly/3N3k1nN; see also FTC Policy Statement on Deception, at 1, FED. TRADE

COMMISSION (1983), https://tinyurl.com/4k2kfcbu.



                                                 35
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       120.    Instagram’s deceptive, misleading, and unfair acts and practices are material to the

decisions of parents and other Instagram users. Instagram users care about the type and maturity

of content and features available on Instagram when deciding whether and how to use (or whether

and how to let their children use) the app.

                                              CLAIMS

                                              COUNT I

   Children’s Online Privacy Protection Act (“COPPA”), 15 U.S.C. § 6501, ch. 91 et seq.

       121.    The Children’s Online Privacy Protection Act (“COPPA”) requires operators of

certain online services to obtain parental consent before collecting personal information from

children online.

       122.    An “operator” subject to COPPA includes “any person who operates a website

located on the Internet or an online service and who collects or maintains personal information

from or about the users of or visitors to such website or online service . . . where such website or

online service is operated for commercial purposes[.]” By operating the Instagram app, an online

service that maintains personal information for commercial purposes, defendants qualify as

“operators” under COPPA. 15 U.S.C. § 6501(2)(A).

       123.    The term “child” is defined as a person under the age of 13. See 15 U.S.C. §

6501(1).

       124.    Defendants repeatedly violate COPPA by collecting personal information from

children on Instagram without first obtaining or even attempting to obtain informed parental

consent, as COPPA requires.

       125.    COPPA prohibits social media operators from collecting personal information

about children without “verifiable parental consent” when either of the following two conditions



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is met: (a) the operator has “actual knowledge” that it is collecting personal information from a

child; or (b) the operator’s service is “directed to children.” 15 U.S.C. § 6502(a)(1).

       126.    “Verifiable parental consent” includes providing notice of the operator’s “personal

information collection, use, and disclosure practices,” 15 U.S.C. § 6501, and requires the operator

to secure the parent’s authorization for the operator to collect, use, or disclose the child’s

information before the operator collects the child’s information.

       127.    “Personal information” includes “individually identifiable information about an

individual collected online,” including the child’s name, address, email address, personal

identifiers, geolocation information, and photographs or videos. 15 U.S.C. § 6501(1), (8); 16 C.F.R

§ 312.2. Defendants collect personal information of this sort from all registered users of Instagram,

including children.

       128.    Defendants’ activities trigger COPPA’s requirement for verifiable parental consent

in two independent ways. First, Defendants routinely obtain “actual knowledge” of Instagram

users under the age of 13. Defendants are both generally aware that a substantial proportion of

children under 13 use Instagram and specifically aware in individual cases that certain users are

under 13 years of age. Separately, through their marketing and promotion of topics of interest to

children and the use of child celebrities, Defendants target children as Instagram users, making the

platform “directed to children.” See 16 C.F.R. § 312.2.

       129.    Defendants do not even attempt to secure verifiable parental consent before

collecting personal information about its users under the age of 13.

       130.    Defendants instead claim that users under 13 years of age are not permitted to use

Instagram. Yet that false assurance is belied by evidence of Defendants’ actual knowledge that

users under 13 years of age can and do often lie about their age in order to access the app.



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       131.    Until December 2019, Instagram had no requirement for users to confirm their age

before creating an Instagram account. Users under the age of 13 did not even need to falsely report

that they were over 13 years of age to participate fully on the app.

       132.    Now, Instagram requires new users to enter a date of birth when signing up for an

account. But this page allows under-13 users to make several attempts at entering an over-13 date

of birth, and only temporarily blocks failed attempts for 12 hours before permitting the under-13

user to try again. Instagram takes no steps to verify a user’s attested birthday.

       133.    Defendants are aware that Instagram’s age registration process provides virtually

no security against underage users and that its process regularly elicits false self-reported ages

from its child-users. Public reporting confirms that children under the age of 13 regularly use

Instagram. In an article discussing Instagram’s abandoned launch of a platform for children under

13, the Wall Street Journal noted that “plenty of children under 13 are already using the regular

Instagram app.” 80 At a congressional hearing, Mark Zuckerberg “acknowledged that plenty of

children lie about their age in order to sign up for Instagram.” 81 Similarly, Instagram CEO Adam

Mosseri has stated that “young users lying about their ages are a problem across the industry.” 82

       134.    Defendants know, or have reason to know, that social media usage is common for

kids under 13. Roughly 11% of the age group uses Instagram. 83

       135.    Defendants and other social media companies “fiercely compete for young people

in general, since they are potentially longtime users, as well as taste makers who help platforms




       80
          Jeff Horwitz, Instagram’s Plan for Kids Met With Hostile Response, WALL ST. J. (Apr.
7, 2021), https://on.wsj.com/3QrMKEE.
       81
          Id.
       82
          Id.
       83
          Id. (citing a survey by investment research firm Piper Sandler).
                                                 38
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remain relevant in pop culture.” 84 “Advertisers also tend to prioritize spending on platforms with

younger users.” 85

         136.       Defendants have repeatedly and systematically failed to provide notice to parents

about the information Instagram collects from children and how such is used and disclosed, as

required by Sections 312.4(b) and 312.4(c) of COPPA. See 16 C.F.R. § 312.4(b)–312.4(c).

Defendants have likewise failed to obtain verifiable parental consent prior to collecting or using

any personal information of children, in violation of Section 312.5 of COPPA. See 16 C.F.R. §

312.5.

         137.       A violation of COPPA establishes an unfair or deceptive practice under the FTC

Act, 15 U.S. Code § 45. See 16 C.F.R. § 312.9. Because the Montana Consumer Protection Act

explicitly incorporates the FTC Act, a violation of COPPA likewise establishes an unfair or

deceptive practice under the MCPA. See Mont. Code § 30-14-104(1).

         138.       COPPA empowers State Attorneys General to sue to enforce COPPA’s verifiable

parental consent requirement. State Attorneys General may obtain injunctive relief, damages,

restitution, and other relief on behalf of residents of the State. 15 U.S.C. § 6504.

                                                COUNT II

          Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                            Mont. Code § 30-14-103, et seq.

                                Alcohol, Tobacco, and Drug References

         139.       The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.




         84
              Id.
         85
              Id.
                                                    39
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       140.    Defendants have represented and are continuing to represent to Montana consumers

that the Instagram app contains “infrequent/mild” “Alcohol, Tobacco, or Drug Use or References.”

       141.    In fact, Defendants know and have reason to know that the Instagram app contains

abundant alcohol, tobacco, and drug use or references, which are neither “infrequent” nor “mild”

in nature.

       142.    Defendants’ “infrequent/mild” representation in the App Store is deceptive, willful

and false, omits material facts, and, to the extent it is a statement of opinion, is a statement of

opinion likely to mislead Montana consumers acting reasonably under the circumstances.

Defendants’ continuous display of this content to young Montanans constitutes an unfair practice.

       143.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                            COUNT III

         Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                           Mont. Code § 30-14-103, et seq.

                                    Sexual Content and Nudity

       144.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       145.    Defendants have represented and are continuing to represent to Montana consumers

that the Instagram app contains “infrequent/mild” “Sexual Content or Nudity.”

       146.    In fact, Defendants know and have reason to know that the Instagram app contains

abundant sexual content and nudity, which is neither “infrequent” nor “mild” in nature, including

pornography.

       147.    Defendants’ “infrequent/mild” representation in the App Store is deceptive, willful

and false, omits material facts, and, to the extent it is a statement of opinion, is a statement of

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opinion likely to mislead Montana consumers acting reasonably under the circumstances.

Defendants’ continuous display of this content to young Montanans constitutes an unfair practice.

       148.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                            COUNT IV

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                                    Mature/Suggestive Themes

       149.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       150.    Defendants have represented and are continuing to represent to Montana consumers

that the Instagram app contains “infrequent/mild” “Mature/Suggestive Themes.”

       151.    In fact, Defendants know and have reason to know that the Instagram app contains

abundant mature/suggestive themes, which are neither “infrequent” nor “mild” in nature, including

extreme violence, content related to eating disorders, and content related to suicide or other

harmful content that ultimately leads young people to suicide.

       152.    Defendants’ “infrequent/mild” representation in the App Store is deceptive, willful

and false, omits material facts, and, to the extent it is a statement of opinion, is a statement of

opinion likely to mislead Montana consumers acting reasonably under the circumstances.

Defendants’ continuous display of this content to young Montanans constitutes an unfair practice.

       153.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.




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                                             COUNT V

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                                    Profanity or Crude Humor

       154.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       155.    Defendants have represented and are continuing to represent to Montana consumers

that the Instagram app contains “infrequent/mild” “Profanity or Crude Humor.”

       156.    In fact, Defendants know and have reason to know that the Instagram app contains

abundant profanity and crude humor, which is neither “infrequent” nor “mild” in nature.

       157.    Defendants’ “infrequent/mild” representation in the App Store is deceptive, willful

and false, omits material facts, and, to the extent it is a statement of opinion, is a statement of

opinion likely to mislead Montana consumers acting reasonably under the circumstances.

Defendants’ continuous display of this content to young Montanans constitutes an unfair practice.

       158.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                            COUNT VI

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                                          12+ Age Rating

       159.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       160.    Defendants have represented and are continuing to represent to Montana consumers

that the Instagram app qualifies for a “12+” rating in the Apple App Store.



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       161.    In fact, Defendants know and have reason to know that the Instagram app does not

qualify for a “12+” rating in the Apple App Store and can only be accurately rated “17+” in the

Apple App Store.

       162.    Defendants’ “infrequent/mild” representation in the App Store is deceptive, willful

and false, omits material facts, and, to the extent it is a statement of opinion, is a statement of

opinion likely to mislead Montana consumers acting reasonably under the circumstances.

Defendants’ continuous display of this content to young Montanans constitutes an unfair practice.

       163.    Defendants’ representation that there is no violence in its App Store rating

description is deceptive, willful and false, omits material facts, and, to the extent it is a statement

of opinion, is a statement of opinion likely to mislead Montana consumers acting reasonably under

the circumstances. Defendants’ continuous display of violent content to young Montanans

constitutes an unfair practice.

       164.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                            COUNT VII

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                                      T for Teen Age Rating

       165.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       166.    Defendants have represented and are continuing to represent to Montana consumers

that the Instagram app qualifies for a “T for Teen” age rating in the Google Play Store and

Microsoft Store.




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       167.    In fact, Defendants know and have reason to know that the Instagram app does not

qualify for a “T for Teen” age rating on those platforms and can only be accurately rated as “M

for Mature” (meaning that the Instagram app is appropriate only for users aged 17 and older).

       168.    Defendants’ “T for Teen” age-rating representation is deceptive, willful and false,

omits material facts, and, to the extent it is a statement of opinion, is a statement of opinion likely

to mislead Montana consumers acting reasonably under the circumstances. Defendants’

continuous display of this content to young Montanans constitutes an unfair practice.

       169.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                           COUNT VIII

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                       Cumulative Deceptive and Unfair Representations

       170.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       171.    Defendants have represented and continue to represent to Montana consumers that

the Instagram app contains only “infrequent/mild” “Alcohol, Tobacco, and Drug Content,”

“Sexual Content and Nudity,” “Suggestive and Mature Themes,” and “Profanity or Crude Humor”;

that the app is rated “12+” and is appropriate for children 12 and older; and that the app is rated

“T” for “Teen” and is appropriate for teenagers.

       172.    Defendants know, and have reason to know, that all of those representations are

deceptive, false, misleading, omit material facts, and to the extent they are a statement of opinion,

are likely to mislead Montana consumers acting reasonably under the circumstances. Those

representations are not only deceptive and unfair individually, but cumulatively.

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       173.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                            COUNT IX

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                                Instagram Community Guidelines

       174.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       175.    Through Instagram’s Community Guidelines, Defendants represent to Montana

consumers that Instagram enforces the Community Guidelines and that certain drug-related and

sexual content is not allowed to remain on Instagram.

       176.    In fact, Defendants know and have reason to know that: content that violates the

Community Guidelines remains on Instagram and is widely viewed. Through the Community

Guidelines, Defendants represent and have represented that certain drug-related and sexual content

is not allowed on Instagram, when such content is allowed. Defendants know that they permit

mature content on the platform that they fail to disclose to consumers in the Community

Guidelines.

       177.    Defendants’ misrepresentations in the Community Guidelines are deceptive, willful

and false, omits material facts, and, to the extent it is a statement of opinion, is a statement of

opinion likely to mislead Montana consumers acting reasonably under the circumstances.

Defendants’ continuous display of this content to young Montanans constitutes an unfair practice.

       178.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.




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                                             COUNT X

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                                  Defendants’ Public Statements

       179.    The State repeats and incorporates by reference each and every allegation contained

in paragraphs 1-120 as if fully set forth herein.

       180.    Through Defendants’ numerous public statements, Defendants represent to

Montana consumers that Instagram moderates content such that mature or prohibited content is

not allowed to remain on Instagram.

       181.    In fact, Defendants know and have reason to know that these public assurances are

deceptive. Mature content, including pornography, remains on Instagram and is widely viewed.

       182.    Defendants’ public statements to the contrary are deceptive, willful and false, omit

material facts, and, to the extent they are statements of opinion, are likely to mislead Montana

consumers acting reasonably under the circumstances. Defendants’ continuous display of this

content to young Montanans despite their public statements constitutes an unfair practice.

       183.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                                COUNT XI

        Montana Consumer Protection Act: Unfair and Deceptive Acts or Practices
                          Mont. Code § 30-14-103, et seq.

                              Addictiveness and Harmful Design Features

       184.    The State repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       185.    Defendants have engaged in unfair acts or practices by creating and marketing an

app that is intentionally addictive to young people. Defendants have also committed deceptive acts

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or practices by telling the public both explicitly and implicitly that its app is safe and appropriate

for users under age 17, even though its app is actually addictive to these minors.

        186.    Defendants’ unfair and deceptive acts or practices in relation to addictiveness

include but are not limited to selecting a “12+” rating in the App Store and a “T” for “Teen” rating

in the Google Play and Microsoft Stores.

        187.    Defendants’ other public-facing statements implicitly and explicitly deceive

consumers by communicating that their product is safe and appropriate for minors.

        188.    Defendants have not informed the public at any time that Instagram is addictive—

let alone that Defendants have intentionally designed their app to be addictive—or that young users

are particularly susceptible to its addictive qualities.

        189.    By creating an app that is intentionally addictive to young people and placing it into

the stream of commerce, all without warning consumers of its addictiveness (and particularly, its

addictiveness to minors), Defendants have engaged in unfair acts or practices trade practices in

violation of Montana Code § 30-14-103.

        190.    These practices are material to the decisions of parents and others because

Instagram users care about the coercive effects and addictive nature of the app when deciding

whether and how to use (or let their children use) the app.

        191.    Defendants have engaged in these actions knowingly. Instagram has intentionally

designed its app to be addictive and is aware that it has an addictive effect on users, particularly

minors.

        192.    This addiction harms Montana minors by substantially affecting their mental health

and other aspects of their social growth and wellbeing.




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       193.    Each Defendant knew or reasonably should have known of the facts described here.

Thus, each Defendant is jointly and severally liable for any and all penalties and money damages

awarded.

       194.     The State is entitled to a preliminary and permanent injunction prohibiting

Defendants from continuing to make misrepresentations and omissions about the addictive

qualities of its app to Montana consumers.

       195.    The State is entitled to civil penalties not to exceed $10,000 for each violation, in

accordance with Mont. Code § 30-14-142.

                                    PRAYER FOR RELIEF

       WHEREFORE, the State of Montana, ex rel. Austin Knudsen, Attorney General, prays for

judgment against Defendants for each of the causes of action raised herein. The State respectfully

requests that the Court enter judgment in its favor and that the Court:

       A.      Declare that Instagram’s actions are deceptive and unfair to Montana consumers

under Mont. Code § 30-14-103, et seq.;

       B.      Preliminarily and permanently enjoin Defendants from continuing to treat Montana

consumers unfairly and deceptively in the ways described in these allegations, in accordance with

Mont. Code § 30-14-111(4);

       C.      Award the State civil penalties of not more than ten thousand dollars for each

violation of the MCPA, in accordance with Mont. Code § 30-14-142.

       D.      Award the State the expenses for expert witnesses, reasonable and necessary costs

incurred in pursuing this action, including reasonable attorneys’ fees, and prejudgment and post-

judgment interest at the highest lawful rates, in accordance with Mont. Code § 30-14-131(2);




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      E.     Declare that each Defendant is jointly and severally liable for any and all penalties

and money damages awarded;

      F.     The State demands a jury trial; and

      G.     Grant such other and further relief as this Court deems just and appropriate.

Date: December 1, 2023                             Respectfully submitted,

                                                   AUSTIN KNUDSEN
                                                   ATTORNEY GENERAL


                                                   By: _____________________

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                                                    forthcoming




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